       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 1 of 31



                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                                :
 GARY KOOPMANN, TIMOTHY KIDD and
                                                :
 VICTOR PIRNIK, Individually and on Behalf of
                                                :   No. 15 Civ. 7199 (JMF)
 All Others Similarly Situated,
                                                :
                           Plaintiffs,          :
                                                :   (Oral Argument Requested)
                      v.                        :
                                                :
 FIAT CHRYSLER AUTOMOBILES N.V.,                :
 FCA US LLC, SERGIO MARCHIONNE,                 :
 RICHARD K. PALMER, SCOTT                       :
 KUNSELMAN, MICHAEL DAHL, STEVE                 :
 MAZURE, and ROBERT E. LEE,                     :
                                                :
                           Defendants.          :
                                                :




   MEMORANDUM IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS THE
  EMISSIONS-RELATED CLAIMS FROM THE FOURTH AMENDED COMPLAINT




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September 5, 2017
           Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 2 of 31



                                                 TABLE OF CONTENTS
                                                                                                                                 Page

PRELIMINARY STATEMENT ............................................................................................... 1

THE NEW ALLEGATIONS IN THE FOURTH AMENDED COMPLAINT ..................... 6
          A.         2015 SCR Field Fix .............................................................................................. 6
          B.         FCA US’s Ongoing Dialogue with the EPA ......................................................... 7
          C.         The EPA Notice of Violation and Complaint ....................................................... 8
          D.         Additional Defendants .......................................................................................... 9

ARGUMENT ............................................................................................................................. 10
I.        PLAINTIFFS’ NEW ALLEGATIONS ABOUT FCA’S PRELIMINARY
          “DIALOGUE” WITH REGULATORS, OVER A YEAR BEFORE THE
          NOVS, DO NOT SUPPORT THE REQUIRED STRONG INFERENCE
          OF SCIENTER .............................................................................................................. 11
          A.         FCA US’s Informal “Dialogue” with EPA Engineers Is Not Sufficient
                     “To Clear the Scienter Bar” ................................................................................ 11
          B.         Plaintiffs Attempt To Manufacture Scienter by Mischaracterizing
                     Communications with the EPA ........................................................................... 15
II.       PLAINTIFFS’ RECASTING OF A ROUTINE “FIELD FIX” INTO AN
          EMISSIONS ISSUE DOES NOT SUPPORT THE REQUIRED STRONG
          INFERENCE OF SCIENTER ..................................................................................... 16
III.      PLAINTIFFS’ REHASHED ALLEGATIONS REMAIN LEGALLY
          INSUFFICIENT “TO CLEAR THE SCIENTER BAR” .......................................... 18
          A.         The Court Should Again Reject Plaintiffs’ Allegations About European
                     Regulators and Vehicles Not Sold in the United States ...................................... 18
          B.         Plaintiffs Rehash Other Allegations that This Court Rejected as
                     Insufficient To Support the Required Strong Inference of Scienter ................... 19
IV.       PLAINTIFFS EXCEEDED THE SCOPE OF THIS COURT’S ORDER
          BY ADDING DEFENDANTS, AND, IN ANY EVENT, THEIR FOURTH
          AMENDED COMPLAINT DOES NOT ALLEGE THAT THESE
          ADDITIONAL    DEFENDANTS             MADE              ANY            ACTIONABLE
          MISREPRESENTATIONS .......................................................................................... 23

CONCLUSION ......................................................................................................................... 25
           Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 3 of 31



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

                                                                CASES

In re Alkermes,
    2005 WL 2848341 (D. Mass. Oct. 6, 2005) ........................................................................... 14

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ............................................................................................................... 16

ATSI Commc’ns, Inc. v. Shaar Fund, Ltd.,
   493 F.3d 87 (2d Cir. 2007) ..................................................................................................... 10

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ............................................................................................................... 16

Campo v. Sears Holdings Corp.,
  371 F. App’x 212 (2d Cir. 2010) ........................................................................................... 22

Chambers v. Time Warner, Inc.,
   282 F.3d 147 (2d Cir. 2002) ..................................................................................................... 6

In re Citigroup, Inc.,
    330 F. Supp. 2d 367 (S.D.N.Y. 2004) .................................................................................... 24

City of Brockton Ret. Sys. v. Avon Prods., Inc.,
    2014 WL 4832321 (S.D.N.Y. Sept. 29, 2014) ....................................................................... 20

Doscher v. Sobel & Co.,
   2015 WL 774695 (S.D.N.Y. Feb. 11, 2015) .......................................................................... 21

ECA, Local 134 IBEW Joint Pension Tr. of Chi. v. J.P. Morgan Chase Co.,
  553 F.3d 187 (2d Cir. 2009) ................................................................................................... 24

In re EDAP TMS S.A.,
    2015 WL 5326166 (S.D.N.Y. Sept. 14, 2015) ................................................................. 13, 14

In re Fannie Mae 2008,
    525 F. App’x 16 (2d Cir. 2013) ............................................................................................. 21

Foley v. Transocean Ltd.,
   861 F. Supp. 2d 197 (S.D.N.Y. 2012) .................................................................................... 20

Ind. Pub. Ret. Sys. v. SAIC, Inc.,
    818 F.3d 85 (2d Cir. 2016) ..................................................................................................... 23




                                                                  -ii-
           Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 4 of 31



                                             TABLE OF AUTHORITIES
                                                   (continued)

                                                                                                                          Page(s)

Janus Capital Grp., Inc. v. First Derivative Traders,
   564 U.S. 135 (2011) ................................................................................................... 19, 24, 25

Kuhns v. Ledger,
   202 F. Supp. 3d 433 (S.D.N.Y. 2016) .................................................................................... 25

Lipsky v. Commonwealth United Corp.,
   551 F.2d 887 (2d Cir. 1976) ................................................................................................... 21

Local No. 38 Int’l Bhd. of Elec. Workers Pension Fund v. Am. Exp. Co.,
   724 F. Supp. 2d 447 (S.D.N.Y. 2010) .................................................................................... 22

In re Manulife Fin. Corp.,
    276 F.R.D. 87 (S.D.N.Y. 2011) ............................................................................................. 12

In re MedImmune, Inc.,
    873 F. Supp. 953 (D. Md. 1995) ............................................................................................ 14

In re MELA Scis., Inc.,
    2012 WL 4466604 (S.D.N.Y. Sept. 19, 2012) ....................................................................... 13

Novak v. Kasaks,
   216 F.3d 300 (2d Cir. 2008) ............................................................................................... 8, 22

Plumbers & Steamfitters Local 773 Pension Fund v. Canadian Imperial Bank of
   Commerce,
   694 F. Supp. 2d 287 (S.D.N.Y. 2010) .................................................................................... 22

Podany v. Robertson Stephens, Inc.,
   318 F. Supp. 2d 146 (S.D.N.Y. 2004) .................................................................................... 16

In re PXRE Grp.,
    600 F. Supp. 2d 510 (S.D.N.Y. 2009) .................................................................................... 20

Richman v. Goldman Sachs Grp., Inc.,
   868 F. Supp. 2d 261 (S.D.N.Y. 2012) .................................................................................... 24

RSM Prod. Corp. v. Fridman,
  643 F. Supp. 2d 382 (S.D.N.Y. 2009) .................................................................................... 21

SEC v. First Jersey Sec., Inc.,
   101 F.3d 1450 (2d Cir. 1996) ................................................................................................. 25




                                                               -iii-
            Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 5 of 31



                                                TABLE OF AUTHORITIES
                                                      (continued)

                                                                                                                                  Page(s)

Silvercreek Mgmt., Inc. v. Citigroup, Inc.,
    2017 WL 1207836 (S.D.N.Y. Mar. 31, 2017) ....................................................................... 10

Sinay v. CNOOC Ltd.,
   554 F. App’x 40 (2d Cir. 2014) ............................................................................................. 18

Steinberg v. Ericsson LM Tel. Co.,
    2008 WL 5170640 (S.D.N.Y. Dec. 10, 2008) ....................................................................... 17

Stevelman v. Alias Research, Inc.,
    174 F.3d 79 (2d Cir. 1999) ..................................................................................................... 16

Stratte-McClure v. Morgan Stanley,
    776 F.3d 94 (2d Cir. 2015) ..................................................................................................... 10

Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital Inc.,
   531 F.3d 190 (2d Cir. 2008) ............................................................................................. 10, 22

Tellabs v. Makor Issues & Rights, Ltd.,
    551 U.S. 308 (2007) ......................................................................................................... 10, 21

Tongue v. Sanofi,
   816 F.3d 199 (2d Cir. 2016) ................................................................................... 3, 12, 14, 17

Wyche v. Advanced Drainage Sys., Inc.,
   2017 WL 971805 (S.D.N.Y. Mar. 10, 2017) ......................................................................... 19

Youngers v. Vitrus Inv. Partners Inc.,
   195 F. Supp. 3d 499 (S.D.N.Y. 2016) .................................................................................... 12

                                           STATUTES, REGULATIONS AND RULE

15 U.S.C. § 78t(a) ........................................................................................................................ 25

15 U.S.C. § 78u-4(b)(2) ............................................................................................................... 10

40 C.F.R. § 86.1803–01 ............................................................................................................... 15

40 C.F.R. § 86.1809–10 ............................................................................................................... 15

Fed. R. Civ. P. 9(b) ............................................................................................................ 1, 10, 21




                                                                    -iv-
         Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 6 of 31



                                     TABLE OF AUTHORITIES
                                           (continued)

                                                                                                      Page(s)

                                           OTHER AUTHORITY

NHTSA, U.S. Department of Transportation Launches New Public Awareness
  Campaign, https://www.nhtsa.gov/press-releases/us-department-
  transportation-launches-new-public-awareness-campaign .................................................... 16




                                                     -v-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 7 of 31



                                PRELIMINARY STATEMENT

               This is Plaintiffs’ second attempt to try to inject emissions claims into this case

about safety recalls. On August 1, 2017, in holding that Plaintiffs’ initial complaint raising

emissions claims against Fiat Chrysler Automobiles N.V. (“FCA NV”) “fail[ed] to allege with

particularity facts giving rise to a strong inference of scienter,” the Court, “with some

misgivings,” granted Plaintiffs leave to amend one final time to try to plead “additional

facts . . . sufficient to clear the scienter bar.” (ECF No. 121 (“2017 Order”) at 4, 10, 12.) With

their Fourth Amended Complaint (“Compl.”; ECF No. 129), Plaintiffs have not met the standard

this Court set, offering only sparse additional allegations falling well short of the Private

Securities Litigation Reform Act’s (“PSLRA”) and Federal Rule of Civil Procedure 9(b)’s

heightened requirements for pleading scienter.

               Recognizing that Plaintiffs’ initial emissions-related allegations “might not be

enough to nudge Plaintiffs’ claims across the threshold of validity,” this Court held that Plaintiffs

must “allege that the EPA gave notice to high-level FCA officials that the vehicles at issue had

unlawful defeat devices.”     (2017 Order at 12–13 (emphasis added).)          But in their Fourth

Amended Complaint, Plaintiffs at most allege (i) preliminary “dialogue” between November

2015 and January 2016 involving engineers of the EPA and FCA US LLC (“FCA US”; together

with FCA NV, “FCA”) more than a year before the EPA served its January 2017 Notice of

Violation (“NOV”); (ii) a routine and publicized “field fix” to remedy a failed component with

an accompanying software update unrelated to any alleged “defeat devices”; (iii) irrelevant

discussions between unspecified FCA European entities and European regulators about vehicles

not sold in the United States; and (iv) vague, speculative allegations by an additional, purported

confidential witness. Because their Fourth Amended Complaint does not allege that any “high-

level” FCA NV officials involved in FCA NV’s disclosures to investors knew that “the vehicles
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 8 of 31



at issue had unlawful defeat devices” prior to making any of the challenged statements, Plaintiffs

have not cleared the exacting “scienter bar.”

               Specifically, Plaintiffs allege that in November 2015, two months after

Volkswagen’s emissions violations became public, the EPA’s Office of Transportation and Air

Quality (“OTAQ”) raised preliminary “concerns” that “at least one” of the software calibrations

contained in certain FCA US diesel-engine vehicles “appear[ed]” to violate U.S. emissions

regulations. Plaintiffs allege that U.S. subsidiary FCA US—not parent company FCA NV,

which is the issuer of publicly traded shares—“communicated with the EPA several times (in

person, via email and over phone)” (Compl. ¶¶ 24, 244) about OTAQ’s preliminary “concerns”

from November 2015 to January 2016. But the Fourth Amended Complaint does not allege that

OTAQ, which is not an EPA enforcement arm, offered any indication that the EPA was then

considering any enforcement action against FCA US. In fact, the Fourth Amended Complaint

alleges that the EPA’s preliminary “concerns” only ripened into a claim of noncompliance in

January 2017—a full year later—when the EPA and the California Air Resources Board

(“CARB”) issued their NOVs to FCA US and FCA NV alleging that certain software in

approximately 100,000 diesel-engine Ram 1500 pickup trucks and Jeep Grand Cherokee SUVs

(together, the “Trucks”) “‘may be defeat devices’ and that ‘further investigation’ was necessary.”

(2017 Order at 9 (emphasis in original) (quoting ECF No. 93–4 at 6).) Fatally, the Fourth

Amended Complaint contains no allegations that any FCA executives involved in investor

disclosures were advised of any of the back and forth between OTAQ and FCA US. In fact, the

Fourth Amended Complaint contains no allegations at all about communications between EPA

and FCA between January 2016 to January 2017.




                                                -2-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 9 of 31



               Plaintiffs’ scienter allegations concerning emissions, even in their latest iteration,

bear no resemblance to those concerning FCA US’s admitted noncompliance with certain

regulations promulgated by the National Highway Traffic Safety Administration (“NHTSA”)

that this Court previously found sufficient to withstand dismissal. In holding that Plaintiffs had

adequately pled scienter on their NHTSA claims, the Court cited allegations that, after months of

discussions with the U.S. Department of Transportation, NHTSA and Congress, NHTSA sent

three letters to Individual Defendants Sergio Marchionne and Scott Kunselman before the

challenged disclosures directing FCA US to undertake detailed actions to remedy noncompliance

by specified deadlines. See Pirnik v. Fiat Chrysler Autos., N.V., 2016 WL 5818590, at *7

(S.D.N.Y. Oct. 5, 2016) (Plaintiffs adequately alleged scienter based on “NHTSA’s direct

correspondence to FCA’s top executives”).

               Here, by contrast, Plaintiffs point only to OTAQ’s initial “concerns” as part of an

ongoing “dialogue” between engineers, not enforcement personnel, that occurred over a year

before the EPA undertook any enforcement action. Further, whereas NHTSA sent letters to FCA

NV CEO Marchionne, Plaintiffs do not allege that any of OTAQ’s “concerns” were

communicated to “high-level FCA officials” involved in disclosures to investors. See Tongue v.

Sanofi, 816 F.3d 199, 211 (2d Cir. 2016) (“no plausible allegation” of securities fraud where

regulator “expressed concern” because investors are aware of “[c]ontinuous dialogue” between a

company and its regulator).

               The Fourth Amended Complaint next tries to plead scienter by falsely claiming

that Mr. Marchionne stated in a July 27, 2017 earnings call (more than six months after the

EPA’s January 2017 NOV) that “at the time in which we launched these vehicles, we weren’t

compliant.” (Compl. ¶¶ 40, 248, 359, 411, 435, 438.) Leaving aside how this quotation (even if




                                                -3-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 10 of 31



accurate) would support scienter—rather than merely constituting impermissible fraud-by-

hindsight pleading—Mr. Marchionne actually said “we were in compliance[].” (Ex. 1 at 16

(emphasis added).)1

               Plaintiffs also make much of a publicized “field fix” that FCA US instituted

between 2014 and 2016 to replace a defective catalyst with a more technically durable catalyst

and to update vehicle software on account of the new catalyst. Plaintiffs assert that because the

software update affected one of the Auxiliary Emissions Control Devices (“AECDs”) listed in

the January 2017 NOVs, FCA US “must have known” at the time of the update that the software

was illegal. (Compl. ¶¶ 239, 415–16, 421.) But Plaintiffs never explain how updating vehicle

software to fix a defective part supports the inference that the software was illegal, let alone that

senior FCA NV executives involved in investor disclosures knew of the software update or

whether the software satisfied the legal definitions of AECD or “defeat device.” And Plaintiffs’

claim that FCA US conducted the field fix in “secret” is simply untrue. FCA US informed the

EPA, CARB and thousands of dealerships across the United States about the field fix, and

service bulletins concerning the field fix are publicly available online (and, thus, were available

to Plaintiffs prior to filing their previous complaint). (Levy Decl. ¶¶ 5–9, Exs. 3–7.) Thus, just

as this Court found in dismissing the emissions-related claims from the Third Amended

Complaint, “there are no allegations in the [Fourth Amended] Complaint inconsistent with the

alternative inference proffered by FCA:        that the company, in good faith, believed these

[approximately 100,000] vehicles (which constituted less than one percent of its global sales)

were in compliance with the law.” (2017 Order at 9.)



1
 All citations to “Ex.” refer to the accompanying declaration of Joshua S. Levy (“Levy Decl.”),
dated September 5, 2017.



                                                 -4-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 11 of 31



               Grasping at straws, Plaintiffs are left to point to irrelevant disagreements between

European regulators and an unspecified FCA European entity over vehicles never sold in the

United States, much less the subject of the January 2017 NOVs. Plaintiffs similarly rely on

vague, speculative confidential witness allegations—without identifying this witness’ job

responsibilities—that “I knew they had an issue with the software” and “[i]t was big issue [sic].”

(Compl. ¶¶ 241, 423.) Just as in Plaintiffs’ earlier complaints, these assertions “do not establish

what specific contradictory information . . . Defendants received or when they received it,” and

therefore “do not get [Plaintiffs] across the goal line.” (2017 Order at 8–9.)

               Finally, Plaintiffs exceed this Court’s reluctant grant of leave to amend by

proposing to bring claims against four new defendants.             If the Court considers these

impermissible claims, in addition to Plaintiffs’ failure to plead scienter with particularity, the

Court should dismiss all claims against Michael Dahl, Robert Lee, Steven Mazure and FCA US

on the additional ground that none of those new Defendants made any actionable

misrepresentations. The Fourth Amended Complaint does not allege a single public statement by

Mr. Dahl or identify with particularity any falsity in Mr. Lee’s, Mr. Mazure’s or FCA US’s

challenged statements.2




2
   The Fourth Amended Complaint re-pleads all of the claims from the Third Amended
Complaint, including those the Court previously dismissed with prejudice concerning (i) FCA
NV’s recall and warranty reserves; (ii) Plaintiffs’ claims on behalf of non-U.S. purchasers; and
(iii) all claims against Richard Palmer, FCA’s Chief Financial Officer. For the reasons set forth
in its Order dated October 5, 2016 (“2016 Order”), this Court should again dismiss those claims.
Pirnik, 2016 WL 5818590, at *8–9. Although the Court previously rejected certain of
Defendants’ arguments in its 2016 Order, including that FCA NV’s statements regarding its
“substantial[] compliance with the relevant global regulatory requirements,” id. at *5–6, were
inactionable puffery under Second Circuit precedent, Defendants incorporate those arguments
herein by reference.



                                                -5-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 12 of 31



        THE NEW ALLEGATIONS IN THE FOURTH AMENDED COMPLAINT

       A.      2015 SCR Field Fix

               FCA US vehicles contain many technologies to reduce NOx emissions, including

selective catalyst reduction (“SCR”). (Compl. ¶¶ 229, 231.) In July 2014, more than two and a

half years before the EPA’s January 2017 NOV, FCA US experienced increased warranty claims

over the SCR catalysts in model year 2014 Trucks. (Id. ¶¶ 418, 444, 448–49.) FCA US

submitted reports to the EPA and CARB in 2014 and 2015 informing them of the increased

warranty claims and began implementing a “field fix” to replace the defective catalyst with a

more technically durable catalyst. (Id. ¶¶ 418, 440–44.)

               To implement this field fix, FCA US sent service bulletins, which were publicly

posted online, to its network of thousands of U.S. dealerships. (Id. ¶¶ 418, 441; Levy Decl.

¶¶ 5–9, Exs. 3–7.)3    These bulletins informed dealers of the catalyst defect and provided

instructions to replace the SCR catalyst with a new catalyst that had an improved washcoat,

which also required a software update. (Compl. ¶¶ 417–18; Exs. 3–7.) This software update

addressed the SCR catalyst washcoat and re-calibrated the formula for calculating the exhaust

gas recirculation (“EGR”) rate, which affected one of the calibrations that was later alleged to be

an undisclosed AECD in the NOVs. (Compl. ¶¶ 239, 415–16; see id. ¶ 232 (“AECD 1 (Full

EGR Shut-Off at Highway Speed)”).)

               In July 2015, CARB requested that FCA US implement a Rapid Response

Transmittal (“RRT”), i.e., that FCA US replace a substantial percentage of SCR catalysts and

3
  “[W]hen considering a motion to dismiss, a district court may ‘consider’ a document ‘where the
complaint relies heavily upon its terms and effect’ as that ‘renders the document integral to the
complaint.’” (2017 Order at 7 n.2 (quoting Chambers v. Time Warner, Inc., 282 F.3d 147, 153
(2d Cir. 2002)); see Compl. ¶¶ 418, 441, 445, 449.) The service bulletins are offered here not for
the truth of their contents, but instead to show that FCA US issued them and posted them
publicly. (2017 Order at 9, 12; see ECF No. 106.)



                                                -6-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 13 of 31



then report on the progress of the SCR replacement for six quarters. (Compl. ¶ 445.) On

November 18, 2015, the EPA similarly requested that FCA US perform a Voluntary Emissions

Recall to replace the SCR catalyst. (Id. ¶ 447.) Pursuant to the RRT and Voluntary Emissions

Recall, FCA US instructed dealers to replace the SCR catalyst and related components, and to

update the related software. (Id. ¶¶ 446, 449.)

       B.      FCA US’s Ongoing Dialogue with the EPA

               In September 2015, following the EPA’s widely publicized enforcement action

against Volkswagen, OTAQ’s Byron Bunker sent “Dear Manufacturer” letters to all U.S.

automobile manufacturers advising them that the EPA intended to conduct additional emissions

testing. (Ex. 8.) The EPA then met with a handful of FCA US employees on November 25,

2015 to discuss certain aspects of emissions control systems on FCA US vehicles. (Compl.

¶¶ 244, 427.) On January 7, 2016, Mr. Bunker allegedly informed Vaughn Burns of FCA US in

an e-mail that “at least one of the AECDs in question appears to me [to] violate EPA’s defeat

device regulations.” (Id. ¶¶ 244, 428–29 (emphasis added).) Mr. Bunker did not indicate or

suggest that the EPA might bring an enforcement action during this preliminary investigatory

stage; rather, the EPA instead sought “to briefly discuss our concerns today with the intent to

schedule a meeting.” (Id. ¶ 429.) The Fourth Amended Complaint contains no allegations that

this EPA correspondence was sent to Mr. Marchionne or any other FCA NV executives involved

in investor disclosures.

               FCA US spoke to the EPA on January 8, 2016 to schedule a meeting for

January 13, 2016. (Compl. ¶¶ 244, 430, 433.) On January 11, 2016, FCA US responded to the

EPA’s e-mail by requesting more information to try to understand the EPA’s rationale for its

compliance “concerns.” (Id. ¶ 431.)




                                                  -7-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 14 of 31



       C.     The EPA Notice of Violation and Complaint

              Notably, the Fourth Amended Complaint contains no allegations about

communications between FCA US and the EPA from January 2016 to January 2017. Rather, the

Fourth Amended Complaint skips from preliminary “dialogue” in January 2016 to January 12,

2017, a year later, when the EPA and CARB issued NOVs alleging that certain software in

approximately 100,000 diesel-engine Trucks “‘may be defeat devices’ and that ‘further

investigation’ was necessary.” (2017 Order at 9 (emphasis in original; quoting ECF No. 93–4 at

6).)

              Plaintiffs attempt to use these NOVs to sustain a challenge to FCA NV’s

statements in various SEC filings and Annual Reports from fiscal years 2014 and 2015, such as

statements that “[w]e are substantially in compliance with the relevant global regulatory

requirements affecting our facilities and products. We constantly monitor such requirements and

adjust our operations to remain in compliance.” (Compl. ¶¶ 275, 281, 302, 314, 316, 353; see

ECF Nos. 93–6 to 93–10.) Plaintiffs similarly challenge Mr. Marchionne’s statement during a

January 2016 earnings call that “on the European side . . . I think we feel comfortable in making

the statement that there are no defeat mechanisms or devices present in our vehicles.” (ECF No.

93–14 at 11; Compl. ¶¶ 343, 481.)

              On May 23, 2017, the Department of Justice, on behalf of the EPA, filed a civil

complaint against FCA and certain of its affiliates (the “EPA Complaint”) alleging violations of

the Clean Air Act, which does not contain a scienter requirement or require knowledge by any

senior executives authorized to speak for the Company. (Id. ¶¶ 38, 374.) These unproven

allegations, filed more than four months after the NOVs, do not identify any facts demonstrating

that Mr. Marchionne (or anyone else within FCA NV) knew or was consciously reckless of FCA

US’s alleged noncompliance with U.S. emissions regulations from 2014 to 2016. (See ECF Nos.


                                               -8-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 15 of 31



105, 110.) In fact, the EPA Complaint makes no reference to Mr. Marchionne or anyone else

involved in FCA NV’s investor disclosures; it does not reference those disclosures at all.

       D.      Additional Defendants

               Notwithstanding this Court’s Order permitting Plaintiffs to plead only “additional

facts” that “FCA had ‘knowledge of facts or access to information contradicting [its] public

statements’” (2017 Order at 13 (quoting Novak v. Kasaks, 216 F.3d 300, 308 (2d Cir. 2008))),

Plaintiffs seek to add four new defendants to this litigation:

              FCA US LLC: FCA US is the U.S. subsidiary of FCA, headquartered in Auburn
               Hills, Michigan. (Compl. ¶ 49.) The Fourth Amended Complaint only alleges
               that FCA US made misstatements to the EPA (id. ¶¶ 249–54, 258–59, 286–87,
               318–19); it contains no allegations concerning any statements that FCA US made
               to investors.

              Michael Dahl:       Mr. Dahl became head of Vehicle Safety and Regulatory
               Compliance at FCA US in November 2015. (Id. ¶ 53.) Plaintiffs do not allege
               that he made any misstatements to investors.

              Steve Mazure: Mr. Mazure was a mid-level manager at FCA US who signed
               cover letters to the EPA on behalf of FCA US. (Id. ¶ 413; see id. ¶¶ 55, 249–54,
               258–59, 286–87, 318–19.)          The Fourth Amended Complaint contains no
               allegations concerning any statements Mr. Mazure made to investors.

              Robert E. Lee: Mr. Lee was an FCA US Vice President who gave an interview to
               an industry publication on December 2, 2015 regarding FCA US’s internal audit
               for emissions compliance. (Id. ¶¶ 54, 339.) Mr. Lee made no representations as
               to FCA’s emissions compliance, and Plaintiffs do not dispute the truth of
               Mr. Lee’s statements that FCA US “looked at 2 million lines of software code,”
               “[i]t’s not against the rules to have something (used for test procedures) that could
               be turned into a defeat device,” and “[y]ou’re only guilty if you have used the
               defeat device, which was the case at [Volkswagen].” (Id. ¶¶ 339–40 (emphasis
               added).)


                                                 -9-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 16 of 31



                                           ARGUMENT

               This Court held that Plaintiffs’ initial emissions-related allegations were not

“sufficient to clear the scienter bar.” (2017 Order at 12.) Although the Court determined that, in

order to state a claim, Plaintiffs must “allege that the EPA gave notice to high-level FCA

officials that the vehicles at issue had unlawful defeat devices” (id. at 13), Plaintiffs have not

done so. Instead, Plaintiffs allege only that the EPA expressed preliminary “concerns” to FCA

US more than a year before those preliminary concerns, following further investigation,

developed into a claim by the EPA of noncompliance. The Fourth Amended Complaint also

contains no allegations that any FCA NV executives who made the challenged statements were

aware of those discussions. “[U]nder Second Circuit precedent, it is not enough to separately

allege misstatements by some individuals and knowledge belonging to some others where there

is no strong inference that, in fact, there was a connection between the two.” Silvercreek Mgmt.,

Inc. v. Citigroup, Inc., 2017 WL 1207836, at *6 (S.D.N.Y. Mar. 31, 2017) (Oetken, J.) (citing

Teamsters Local 445 Freight Div. Pension Fund v. Dynex Capital Inc., 531 F.3d 190, 195–96

(2d Cir. 2008)).

               To plead scienter under the PSLRA and Rule 9(b), Plaintiffs must “‘state with

particularity facts giving rise to a strong inference that the defendant acted with the required state

of mind.’” Tellabs v. Makor Issues & Rights, Ltd., 551 U.S. 308, 314 (2007) (quoting 15 U.S.C.

§ 78u-4(b)(2)). “To satisfy the PSLRA, a complaint must . . . alleg[e] facts ‘(1) showing that the

defendants had both motive and opportunity to commit the fraud or (2) constituting strong

circumstantial evidence of conscious misbehavior or recklessness.’”            (2017 Order at 3–4

(quoting ATSI Commc’ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 99 (2d Cir. 2007)).) “For an

inference of scienter to be ‘strong,’ a reasonable person must ‘deem [it] cogent and at least as




                                                -10-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 17 of 31



compelling as any opposing inference one could draw from the facts alleged.’” (Id. at 4 (quoting

Tellabs, 551 U.S. at 324).)

               Unable “to allege that any of the Defendants sold shares of FCA stock during the

class period,” Plaintiffs “must allege either actual intent or ‘conscious recklessness—i.e., a state

of mind approximating actual intent, and not merely a heightened form of negligence.’” (Id.

(quoting Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 106 (2d Cir. 2015)).) Because

Plaintiffs have not done so, their latest attempt to plead emissions-related claims should be

dismissed, this time with prejudice.

I.      PLAINTIFFS’ NEW ALLEGATIONS ABOUT FCA’S PRELIMINARY
        “DIALOGUE” WITH REGULATORS, OVER A YEAR BEFORE THE NOVS, DO
        NOT SUPPORT THE REQUIRED STRONG INFERENCE OF SCIENTER.

        A.     FCA US’s Informal “Dialogue” with EPA Engineers Is Not Sufficient “To
               Clear the Scienter Bar.”

               Plaintiffs’ allegations that, following the EPA’s widely publicized September

2015 enforcement action against Volkswagen, the EPA began a “dialogue” over emissions

compliance with FCA US and other automobile manufacturers cannot support an inference of

scienter.

               In their Fourth Amended Complaint, Plaintiffs allege that, according to Mr.

Marchionne (in statements made by him prior to the Third Amended Complaint), FCA had “been

in dialogue with [the EPA] since September 2015.” (Compl. ¶¶ 240, 422; Ex. 9; see Ex. 9 (“We

have had discussions now with the EPA on those matters since September of 2015.”).) As part

of this “dialogue,” Plaintiffs allege that OTAQ, which is not an EPA enforcement arm, met with

a handful of FCA US employees in November 2015. (Compl. ¶¶ 244–45, 427.) In a subsequent

e-mail recounting that meeting, OTAQ’s Byron Bunker allegedly expressed “concerns” that at

least one part of the software “appears to me” to be a defeat device and sought additional



                                               -11-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 18 of 31



information from FCA US. (Id. ¶¶ 24, 244, 429.) From November 2015 to January 2016, FCA

US allegedly “communicated with the EPA several times (in person, via email and over phone)”

regarding Mr. Bunker’s compliance “concerns.” (Id. ¶¶ 24, 244; see id. ¶ 428.) And in January

2016, FCA US, the EPA and CARB scheduled a meeting to ensure that FCA understands EPA’s

rationale for any remaining compliance concerns. (Id. ¶¶ 244–45, 429–32.) Such routine,

informal communications with a regulator doing its job—asking FCA US and other automotive

companies about emissions compliance after the Volkswagen enforcement action—cannot

support an inference of scienter. See Youngers v. Vitrus Inv. Partners Inc., 195 F. Supp. 3d 499,

518 (S.D.N.Y. 2016) (Pauley, J.) (“[T]he fact that a regulator [here, the EPA,] is fulfilling [its]

role cannot be sufficient to allege scienter.”) (quoting In re Manulife Fin. Corp., 276 F.R.D. 87,

102 (S.D.N.Y. 2011) (Keenan, J.)); see Tongue, 816 F.3d at 211 (“no plausible allegation” of

securities fraud where regulator “expressed concern” because investors are aware of

“[c]ontinuous dialogue” between a company and its regulator).

               Plaintiffs’ allegations are thus unlike “those that the Court found sufficient with

respect to Plaintiffs’ allegations regarding compliance with safety-related regulations.” (2017

Order at 13 (citing Pirnik, 2016 WL 5818590, at *2, *6–7).) This Court sustained Plaintiffs’

NHTSA-related claims because the Second Amended Complaint included detailed allegations

regarding “NHTSA’s direct correspondence to FCA’s top executives”—in particular, letters

NHTSA sent to Mr. Marchionne and others—that allegedly contradicted their subsequent

statements to investors. Pirnik, 2016 WL 5818590, at *7. Those letters, unlike FCA US’s

informal, preliminary “dialogue” with the EPA, represented the culmination of months of

discussions with the U.S. Department of Transportation, NHTSA and Congress, see id. at *1–2

(detailing meeting with Mr. Marchionne, the Secretary of Transportation and the NHTSA




                                               -12-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 19 of 31



Administrator, and Mr. Kunselman’s testimony to Congress), and required FCA US to undertake

detailed actions to remedy noncompliance by specified deadlines. (Ex. 10 (requiring FCA US to

provide 10 types of information “to NHTSA by no later than November 5” with “weekly updates

thereafter”); Ex. 11 (“I request, within 15 days of the date of this letter, that Chrysler confirm

that its dealerships are giving owners accurate information and implementing the repairs in a

timely and effective manner.”); Ex. 12 (“NHTSA expects Chrysler to file a 573 Defect

Information Report consistent with the demand in this letter, with a schedule for notifying its

affected customers, no later than December 1.”).) Plaintiffs cite no comparable correspondence

between the EPA and FCA US prior to the January 2017 NOVs. In fact, Plaintiffs do not

identify any communications between the EPA and FCA US between January 2016 and January

2017.

               In this District, courts routinely find that preliminary concerns expressed by

regulators do not support a strong inference of scienter. In In re EDAP TMS S.A., 2015 WL

5326166 (S.D.N.Y. Sept. 14, 2015) (Schofield, J.), for example, defendants stated that FDA

approval was “on track,” and “we believe we are moving through the approval process in a

timely manner.” Id. at *5. Plaintiffs alleged that these statements were misleading and made

with scienter because, prior to these statements, the FDA issued a “Major Deficiency Letter”

identifying “significant concerns” regarding defendants’ application. Id. at *3. Judge Schofield

concluded that these allegations did not support the required strong inference of scienter because

a “more compelling inference to the contrary exists—that the company could have known of

problems in the testing procedures, planned to remedy those deficiencies, and still thought it

would achieve FDA approval.” Id. at *14 (internal quotation marks omitted); see In re MELA

Scis., Inc., 2012 WL 4466604, at *7–8 (S.D.N.Y. Sept. 19, 2012) (Bricetti, J.) (no scienter where




                                              -13-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 20 of 31



“defendants continued to tout the conduct and results of the [clinical] trial even after receiving a

‘non-approval’ letter from the FDA,” because “[t]hese statements do not present evidence of

defendants’ egregious refusal to see the obvious”).4

               The EPA’s preliminary “concerns” regarding emissions compliance also do not

support a strong inference of scienter here. As Mr. Marchionne explained in an interview on

which Plaintiffs rely, “all the software that goes into these vehicles is disclosed” to regulators,

and “[w]e think that the software is compli[a]nt with current legislation.”                (Ex. 9.)

Mr. Marchionne noted that FCA “may have a difference of opinion as to whether the EPA and

CARB have different expectations of disclosure on [software] calibrations,” but he emphasized

his view that FCA’s software “cannot be classified as defeat devices[,] [b]ecause we’re trying to

defeat nothing.” (Id.) Rather, he believed that this software was “put in place to protect the

engine,” which is legally permissible, so “[w]e think that the software is compli[a]nt with current

legislation.” (Id.) Thus, as in In re EDAP and this Court’s 2017 Order, “it is not less (and

arguably more) plausible to think that FCA believed itself to be in compliance—as it consistently

represented.” (2017 Order at 10.)

               Plaintiffs “fail[] to allege any facts suggesting that Defendants did not genuinely

believe what they were saying at the time they said it.” Tongue, 816 F.3d at 208. Instead,

Plaintiffs falsely assert that Mr. Marchionne stated “we weren’t compliant” during an earnings

call months after the NOVs (Compl. ¶¶ 40, 248, 359, 411, 435, 438), when he in fact said that


4
  See also In re Alkermes, 2005 WL 2848341, at *16 (D. Mass. Oct. 6, 2005) (“The Defendants
had no duty to disclose that the FDA had requested additional studies because they had never
guaranteed FDA approval.”); In re MedImmune, Inc., 873 F. Supp. 953, 966 (D. Md. 1995) (“[I]t
[does not] matter that one or more FDA staffers may have questioned MedImmune or its
affiliates about the study design during the review process. Mere questioning by the FDA
imposed no duty upon Defendants either to trim back their opinions as to the efficacy of the drug
or to report to the public the FDA staffers’ questions as they arose.”).



                                               -14-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 21 of 31



“within the scheme of things that existed at the time, in which we launched these vehicles, we

were in compliance[].” (Ex. 1 at 16 (emphasis added).)5

       B.      Plaintiffs Attempt To Manufacture            Scienter    by   Mischaracterizing
               Communications with the EPA.

               Recognizing that the EPA’s discussions with FCA US cannot support the required

strong inference of scienter, Plaintiffs resort to claiming that, prior to the January 2017 NOVs,

“the EPA[] conclude[d] that these AECDs were defeat devices” (Compl. ¶ 364; see id. ¶¶ 340,

344, 346, 354, 362, 434), when the EPA said nothing of the sort. As Plaintiffs themselves admit,

one EPA official merely expressed preliminary “concerns” that certain pieces of software

“appear[] to me” to be “defeat devices,” and the EPA began a “dialogue” with FCA US. (Id.

¶¶ 240, 244, 422, 429.) Even the NOVs reached no such conclusion, as this Court recognized,

stating “only that FCA’s undisclosed software ‘may’ constitute ‘defeat devices,’ subject to

further investigation.” (2017 Order at 5 n.1 (emphasis added; quoting ECF No. 93–4 at 6; ECF

No. 93–5 at 2).)

               Plaintiffs next ignore the legal definitions of AECDs and “defeat devices.” They

repeatedly refer to “illegal AECDs” (Compl. ¶¶ 22, 236, 406, 409, 412, 414), but ignore that

AECDs are lawful if disclosed in the certification application to the EPA and CARB (see 2017

Order at 5 n.1 (quoting 40 C.F.R. § 86.1803–01)). Plaintiffs similarly refer to “illegal defeat

devices” (Compl. ¶¶ 365, 407), but the Fourth Amended Complaint does not contain a single

allegation that the challenged software is not within the “enumerated exceptions” to the

definition of a “defeat device,” “including, for example, to ‘protect[] the vehicle against

damage’” (2017 Order at 5 n.1 (quoting 40 C.F.R. §§ 86.1803–01, 86.1809–10)). In fact, as this


5
 Defendants will provide an audio file of the July 27, 2017 earning call to the Court with their
courtesy copies. (Ex. 2.) The relevant portion occurs at approximately 1:06:50.



                                              -15-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 22 of 31



Court recognized, “no regulatory body has definitively found that FCA vehicles were using

illegal ‘defeat devices.’” (Id.) Plaintiffs’ conclusory allegations thus presume the illegality of

the software in the Trucks—hoping to achieve through repetition what they have not alleged—

but fail to plead any particularized facts about the “enumerated exceptions” to support their

alleged legal conclusion.     See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“‘[A] legal

conclusion couched as a factual allegation’ . . . does not unlock the doors of discovery.”)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

               Without any particularized allegations for their claims prior to the EPA’s January

2017 NOVs, Plaintiffs claim that FCA “updated emissions software calibrations” for Model Year

2017 vehicles months after the NOVs. (Compl. ¶¶ 436–38.) But Plaintiffs offer no explanation

how changing software calibrations to address regulators’ concerns “is tantamount to an

admission of non-compliance” (id. ¶ 438), much less demonstrates that the Individual

Defendants, including Mr. Marchionne, knew of any supposed “defeat devices.” “The Second

Circuit has firmly rejected this ‘fraud by hindsight’ approach.” Podany v. Robertson Stephens,

Inc., 318 F. Supp. 2d 146, 156 (S.D.N.Y. 2004) (Lynch, J.) (quoting Stevelman v. Alias

Research, Inc., 174 F.3d 79, 85 (2d Cir. 1999)).

II.    PLAINTIFFS’ RECASTING OF A ROUTINE “FIELD FIX” INTO AN
       EMISSIONS ISSUE DOES NOT SUPPORT THE REQUIRED STRONG
       INFERENCE OF SCIENTER.

               FCA US, like all automotive companies in the U.S., routinely replaces defective

parts and updates vehicle software in coordination with its regulators. 6 Plaintiffs’ allegation that

such routine maintenance somehow “would have alerted” the Individual Defendants to any

6
  In 2015, for example, “there were close to 900 recalls affecting 51 million vehicles
nationwide.” NHTSA, U.S. Department of Transportation Launches New Public Awareness
Campaign,     https://www.nhtsa.gov/press-releases/us-department-transportation-launches-new-
public-awareness-campaign (last visited September 5, 2017).



                                                -16-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 23 of 31



alleged emissions noncompliance (Compl. ¶ 238) fails as a matter of law. See, e.g., Steinberg v.

Ericsson LM Tel. Co., 2008 WL 5170640, at *13 (S.D.N.Y. Dec. 10, 2008) (Patterson, J.) (“An

allegation that a defendant merely ‘ought to have known’ is not sufficient to allege

recklessness.”).

               Plaintiffs allege that a field fix to replace a defective catalyst with a more durable

one, and to update vehicle software accordingly, somehow supports a strong inference of scienter

because it was allegedly done in “secret.” (Compl. ¶¶ 22, 239, 415, 417–19.) That allegation is

contradicted by FCA US’s repeated disclosure to the EPA, CARB and thousands of dealerships

across the country about this field fix. (Id. ¶¶ 418, 441–47, 449.) And the service bulletins FCA

US sent to dealers regarding the field fix are publicly available online. (Levy Decl. ¶¶ 5–9, Exs.

3–7.)

               Plaintiffs also allege that because the software update affected one of the AECDs

listed in the NOVs, FCA US “must have known” about the “existence” of the “illegal” software.

(Compl. ¶¶ 239, 415–16, 421.)          But Plaintiffs do not allege any particularized facts

demonstrating that the Individual Defendants believed this software met the legal definitions of

an AECD, let alone that it was a “defeat device,” when they made their challenged statements.

(See supra Section I.B.)     Plaintiffs’ speculation that Mr. Marchionne may have received

memoranda noting the existence of this field fix—allegations that provide no details concerning

the content of those hypothetical memoranda, but instead quote irrelevant documents discussing

unrelated recalls (Compl. ¶¶ 420–21)—similarly does not demonstrate that he did not “in good

faith, believe[]” that the Trucks “were in compliance with the law” at the time of his challenged

statements. (2017 Order at 9.) Plaintiffs thus confuse facts and opinions to try to mask their




                                                -17-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 24 of 31



“fail[ure] to allege any facts suggesting that Defendants did not genuinely believe what they

were saying at the time they said it.” Tongue, 816 F.3d at 208.

III.   PLAINTIFFS’   REHASHED     ALLEGATIONS                          REMAIN         LEGALLY
       INSUFFICIENT “TO CLEAR THE SCIENTER BAR.”

       A.      The Court Should Again Reject Plaintiffs’ Allegations About European
               Regulators and Vehicles Not Sold in the United States.

               Notwithstanding this Court’s direction that Plaintiffs could try to plead

“additional facts . . . sufficient to clear the scienter bar” (2017 Order at 12 (emphasis added)),

Plaintiffs continue to cite a report issued by German regulators (Compl. ¶ 356) that the Court

already has found “is far from conclusive and provides little or no support for Plaintiffs’ claim

that Marchionne and other FCA officials ‘must have known’ that FCA cars had illegal defeat

devices.” (2017 Order at 7–8 (citing Sinay v. CNOOC Ltd., 554 F. App’x 40, 42 (2d Cir.

2014)).) Plaintiffs also continue to allege, as they did before, that “Chrysler cancelled a meeting

with German” regulators (Compl. ¶ 355), even though the Italian Transport Minister expressly

instructed FCA not to attend that meeting (ECF No. 93–3).

               Plaintiffs also again invoke an irrelevant disagreement between German and

Italian regulators (Compl. ¶ 360) over vehicles not subject to the EPA’s January 2017 NOV,

none of which is even sold in the United States (Ex. 13 (discussing “tests by German authorities

on the Fiat 500X, Fiat Doblo and Jeep Renegade”)).           (See 2017 Order at 8 (allegations

concerning a report that “did not discuss . . . the two kinds of vehicles that were the subjects of

the Notices of Violation from the EPA and CARB . . . are insufficient to meet Rule 9(b)’s

particularity standard”).) Then, Plaintiffs distort press reports that German regulators sought to

investigate “potential illegal manipulation devices” that “could prove” use of “defeat devices,”

and studiously ignore that “Italian tests had shown Fiat 500 cars conformed to emissions rules

and did not contain defeat devices.” (Ex. 13 (emphasis added); see Compl. ¶ 360.)


                                               -18-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 25 of 31



               Moreover, the Fourth Amended Complaint’s reference to testimony before the

European Parliament that FCA believed its vehicles were within “the legal limits” (Compl.

¶ 363) cuts against the required strong inference of scienter, because it is “more[] plausible to

think that FCA believed itself to be in compliance—as it consistently represented” (2017 Order

at 10). In fact, both FCA’s primary European regulator in Italy and its own internal audit found

its vehicles compliant.    (Ex. 13; Compl. ¶¶ 349, 481.)        And Plaintiffs’ allegations about

European regulatory developments after the EPA’s January 2017 NOV (Compl. ¶¶ 372–73) does

not support their burden of showing that the Individual Defendants acted with the required strong

inference of scienter when they made the challenged statements from 2014 to 2016. See Wyche

v. Advanced Drainage Sys., Inc., 2017 WL 971805, at *14 (S.D.N.Y. Mar. 10, 2017) (Failla, J.)

(no scienter where “Plaintiff has not identified contemporaneous facts, reports, or statements to

which Defendants had access and which contained information contrary to the information

Defendants conveyed to the public”). Even if relevant, and they are not, these allegations at

most describe the European Commission’s effort “to mediate between the German and Italian

authorities.” (Exs. 14–15.)

       B.      Plaintiffs Rehash Other Allegations that This Court Rejected as Insufficient
               To Support the Required Strong Inference of Scienter.

               Notwithstanding this Court’s holding that Plaintiffs’ “conclusory allegations” in

their Third Amended Complaint were “insufficient to meet Rule 9(b)’s particularity standard”

(2017 Order at 8), Plaintiffs continue to press allegations that this Court squarely rejected. First,

Plaintiffs try to make much of “the unremarkable fact that . . . [FCA] had audited its vehicles for

emissions compliance” (2017 Order at 4; see Compl. ¶¶ 242–43, 246, 438), but do not allege that

this audit identified any issues. The internal audit thus “tends to undermine any inference of

scienter,” because this audit shows that Defendants were “endeavoring in good faith to ascertain”



                                                -19-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 26 of 31



the relevant facts. City of Brockton Ret. Sys. v. Avon Prods., Inc., 2014 WL 4832321, at *24

(S.D.N.Y. Sept. 29, 2014) (Gardephe, J.) (emphasis added); see Foley v. Transocean Ltd., 861 F.

Supp. 2d 197, 214 (S.D.N.Y. 2012) (Buchwald, J.) (internal “audit . . . undermines any inference

that [defendants] acted with an intent to deceive, manipulate, or defraud, and it certainly renders

it difficult to conclude that the inference of scienter is at least as compelling as any opposing

inference one could draw”) (emphasis added).

               Second, Plaintiffs again allege that the FCA’s Board was “aware[] that other

automobile manufacturers [Volkswagen] were facing regulatory scrutiny for using illegal ‘defeat

devices’” (2017 Order at 4–5; Compl. ¶¶ 243, 246, 426), but it is settled law that knowledge of

“industry-wide” concerns, including the behavior of “‘competitors’ or ‘peers,’” “fail[s] to

support an inference of fraudulent intent,” In re PXRE Grp., 600 F. Supp. 2d 510, 540–44

(S.D.N.Y. 2009) (Sullivan, J.) (knowledge of facts “the industry was well aware of” that received

“widespread publicity,” and behavior of defendants’ “‘competitors’ or ‘peers,’” “fail to support

an inference of fraudulent intent”), aff’d sub nom. Condra v. PXRE Grp. Ltd., 357 F. App’x 393

(2d Cir. 2009). (See 2017 Order at 4–5.)

               Third, Plaintiffs again offer the circular speculation that the Individual Defendants

must have known that the software calibrations that FCA US did not disclose to the EPA and

CARB were illegal, simply because those calibrations were not disclosed to the agencies.

(Compl. ¶ 414; see id. ¶¶ 236, 238.) But as this Court held, “FCA’s disclosure of software other

than the devices for which the company is now being prosecuted” is insufficient to support the

required strong inference of scienter. (2017 Order at 9.) To the contrary, “it is no less (and

arguably more) plausible to think that FCA believed itself to be in compliance—as it consistently

represented—given the myriad of harsh consequences, financial and otherwise, the company




                                               -20-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 27 of 31



knew it would suffer if the devices were found to be illegal.” (Id. at 10 (citing Tellabs, 551 U.S.

at 324).)

               Fourth, Plaintiffs’ appropriation of unproven allegations from the May 2017 EPA

Complaint (Compl. ¶¶ 374–75), filed more than four months after the EPA’s January 2017

NOVs, “is a classic example of pleading fraud by hindsight.” In re Fannie Mae 2008, 525 F.

App’x 16, 19 (2d Cir. 2013). Moreover, “Second Circuit case law is clear that paragraphs in a

complaint that are either based on, or rely on, complaints in other actions that . . . [are] not

resolved, are, as a matter of law, immaterial,” RSM Prod. Corp. v. Fridman, 643 F. Supp. 2d

382, 403 (S.D.N.Y. 2009) (Wallach, J.) (citing Lipsky v. Commonwealth United Corp., 551 F.2d

887, 892–94 (2d Cir. 1976)), aff’d, 387 F. App’x 72 (2d Cir. 2010).

               In any event, even accepting the allegations of the EPA Complaint as true—

which, unlike the Fourth Amended Complaint, need not satisfy the heightened pleading

requirements of the PSLRA and Rule 9(b)—the EPA simply alleged that, “subject to a

reasonable opportunity for further investigation or discovery,” unnamed FCA NV employees

“were involved” in “gathering and/or approving” unspecified “information” (Compl. ¶ 375),

which is insufficient to support the required strong inference of scienter against the Individual

Defendants or some other FCA NV executive involved in the Company’s investor disclosures.

See Doscher v. Sobel & Co., 2015 WL 774695, at *5–6 (S.D.N.Y. Feb. 11, 2015) (Berman, J.)

(“[A]llegations based upon ‘information and belief,’ without more, are insufficient to support a

securities fraud claim.”); Plumbers & Steamfitters Local 773 Pension Fund v. Canadian

Imperial Bank of Commerce, 694 F. Supp. 2d 287, 300 (S.D.N.Y. 2010) (Pauley, J.) (no scienter

where “Plaintiff has not ‘specifically identified any reports or statements’ or any dates or time




                                               -21-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 28 of 31



frame in which Defendants were put on notice of contradictory information”) (quoting Teamsters

Local 445, 531 F.3d at 196).

               Finally, “Plaintiffs’ confidential witness allegations do not get them across the

goal line either.” (2017 Order at 8.) The Second Circuit requires that confidential witnesses be

“described in the complaint with sufficient particularity,” Novak, 216 F.3d at 314, but the Fourth

Amended Complaint alleges only that “CW3” was a “Program Manager of Advanced Powertrain

at Chrysler . . . from June 2013 through September 2015,” with no explanation of his or her job

duties or seniority (Compl. ¶¶ 241, 423). Just like the confidential witness allegations this Court

found insufficient in the Third Amended Complaint, CW3’s vague statements that “I knew they

had an issue with the software” and “[i]t was big issue [sic]” (Id.) “do not establish what specific

contradictory information . . . Defendants received or when they received it” (2017 Order at 9

(quoting Local No. 38 Int’l Bhd of Elec. Workers Pension Fund v. Am. Exp. Co., 724 F. Supp. 2d

447, 461 (S.D.N.Y. 2010) (Pauley, J.), aff’d, 430 F. App’x 63 (2d Cir. 2011))). And CW3’s

speculative allegation, with no alleged connection to AECDs or “defeat devices,” that “[i]t went

all the way up to Bob Lee” (Compl. ¶¶ 241, 423)—with whom the Fourth Amended Complaint

does not allege CW3 had any personal contact—is not sufficient as a matter of law, see Campo

v. Sears Holdings Corp., 371 F. App’x 212, 217 (2d Cir. 2010) (discounting allegations from

confidential witnesses who had no contact with individual defendants); Local No. 38, 724 F.

Supp. 2d at 460–61 (allegations of “rank-and-file” confidential witnesses who “had no contact

with the Individual Defendants” “fail to raise a strong inference” of scienter).




                                                -22-
        Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 29 of 31



IV.    PLAINTIFFS EXCEEDED THE SCOPE OF THIS COURT’S ORDER BY
       ADDING DEFENDANTS, AND, IN ANY EVENT, THEIR FOURTH AMENDED
       COMPLAINT DOES NOT ALLEGE THAT THESE ADDITIONAL
       DEFENDANTS MADE ANY ACTIONABLE MISREPRESENTATIONS.

               Even though this Court—“with some misgivings”—granted Plaintiffs leave to

amend so that Plaintiffs could attempt to add “additional facts . . . sufficient to clear the scienter

bar” (2017 Order at 10, 12), Plaintiffs instead added four new Defendants: Michael Dahl,

Robert Lee, Steve Mazure and FCA US. Beyond impermissibly adding defendants, Plaintiffs do

not allege any actionable misstatements by any of those new defendants; the claims against these

additional defendants therefore should be dismissed with prejudice for this additional reason. 7

               The Fourth Amended Complaint does not allege a single public misstatement by

Mr. Dahl. Plaintiffs challenge Mr. Lee’s statements during a December 2, 2015 interview with

an industry publication (Compl. ¶ 339; Ex. 17), but fail to identify any supposed falsity. Mr. Lee

made no representations about FCA’s emissions compliance, and Plaintiffs do not dispute the

truth of Mr. Lee’s statements that FCA US “looked at 2 million lines of software code,” “[i]t’s

not against the rules to have something (used for test procedures) that could be turned into a

defeat device,” and “[y]ou’re only guilty if you have used the defeat device, which was the case

at [Volkswagen].” (Ex. 17 (emphasis added).) Mr. Lee’s general questions (e.g., “Are we as

good as we think we are? This is the right time to ask that question.” (id.)) are also inactionable

as a matter of law, see, e.g., Ind. Pub. Ret. Sys. v. SAIC, Inc., 818 F.3d 85, 97–98 (2d Cir. 2016)

(“puffery” “does not give rise to securities violations” where challenged “statements are typically

‘too general to cause a reasonable investor to rely upon them’”) (quoting ECA, Local 134 IBEW

Joint Pension Tr. of Chi. v. J.P. Morgan Chase Co., 553 F.3d 187, 206 (2d Cir. 2009)).

7
  Plaintiffs also added irrelevant alleged misstatements, such as a February 2, 2016 press release
discussing “European law,” “Europe[an] vehicles” and “Euro 6 calibrations.” (Ex. 16; Compl.
¶ 345.)



                                                -23-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 30 of 31



               Plaintiffs contend that Mr. Mazure signed cover letters to the EPA, not to

investors, “on behalf of Chrysler,” stating that FCA US “agrees that the exhaust emission

standards listed below and in the application for certification apply to both certification and in-

use vehicles” under applicable regulations. (Compl. ¶¶ 249, 251, 253, 258, 286, 318; Exs. 18–

19.) But the Fourth Amended Complaint does not allege that Mr. Mazure exercised “ultimate

authority over the[se] statement[s], including [their] content and whether and how to

communicate [them].” Janus Capital Grp., Inc. v. First Derivative Traders, 564 U.S. 135, 142

(2011). Because “[o]ne who prepares or publishes a statement on behalf of another is not its

maker,” id., Mr. Mazure made no alleged misstatements to investors as a matter of law.

               Even more importantly, the Fourth Amended Complaint does not—and cannot—

allege that these statements by FCA US to the EPA were directed to investors. See Richman v.

Goldman Sachs Grp., Inc., 868 F. Supp. 2d 261, 277 (S.D.N.Y. 2012) (Crotty, J.) (“[T]o state a

claim, Plaintiffs have to show that [defendant] made material misstatements and omissions with

the intent to defraud its own shareholders.”) (emphasis added); In re Citigroup, Inc., 330 F.

Supp. 2d 367, 377 (S.D.N.Y. 2004) (Swain, J.) (dismissing securities fraud claims because

plaintiffs failed to allege misstatements “in connection with the market for [defendant’s] own

securities”). Moreover, FCA US’s acknowledgement that it is, in fact, subject to applicable

emissions regulations is in no way misleading.

               To the extent Plaintiffs seek to “state a claim for control person liability under

Section 20(a)” of the Securities Exchange Act of 1934, their claim fails because they have not

pleaded “a plausible primary violation of Section 10(b).” Pirnik, 2016 WL 5818590, at *5

(citing SEC v. First Jersey Sec., Inc., 101 F.3d 1450, 1472 (2d Cir. 1996)); see 15 U.S.C.




                                                 -24-
       Case 1:15-cv-07199-JMF Document 132 Filed 09/05/17 Page 31 of 31



§ 78t(a).8 Nor can FCA US be held liable for any alleged misstatements by FCA NV, because

only FCA NV “bears the statutory obligation to file [forms] with the SEC.” Janus, 564 U.S. at

147.

                                       CONCLUSION

              For the foregoing reasons, the Court should dismiss all emissions-related claims

from the Fourth Amended Complaint with prejudice.


                                                          Respectfully submitted,


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                                                          Counsel for Defendants
September 5, 2017




8
  In any event, nothing in the Fourth Amended Complaint shows how Messrs. Dahl, Lee or
Mazure “possesse[d] ‘the power to direct or cause the direction of the management and policies
of a person, whether through the ownership of voting securities, by contract, or otherwise’” at
FCA NV. Kuhns v. Ledger, 202 F. Supp. 3d 433, 440–41 (S.D.N.Y. 2016) (Buchwald, J.)
(quoting First Jersey, 101 F.3d at 1473) (no control person liability where defendant owned 47%
of common stock and “substantially influenced” the company).



                                             -25-
